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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                    5/31/2022


SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff,                 20-CV-10832 (AT) (SN)

                          -against-                                           ORDER

RIPPLE LABS, INC., et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        A conference is scheduled for Tuesday, June 07, 2022, at 3:00 p.m. to discuss the SEC’s

renewed assertion of attorney-client privilege as to internal documents related to then-Director

Hinman’s June 14, 2018 speech. See ECF No. 473. The conference shall take place in

Courtroom 23B, Daniel P. Moynihan Courthouse, 500 Pearl Street, New York, New York.

        The parties are required to comply with the Court’s most recent COVID-19 safety

guidance, including courtroom and entry protocols. Information about the Court’s protocols is

available at: https://nysd.uscourts.gov/covid-19-coronavirus. The parties should plan to arrive at

least 30 minutes in advance to complete the entry screening process.

SO ORDERED.




Dates: May 31, 2022
       New York, New York
